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IVAN RENE MOORE

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1236 South Redondo Blvd
Los Angeles, CA 90019

PAID

PLAINTIFF, In Pro Se
(323) 932-9439

JUN 3.0 2017

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IVAN RENE MOORE,

VS.

FARGO BANK, N.A; EDWARD D.
ASSET RELIANCE, INC.; GEORGE

ITHROUGH 25,

Defendants.

Plaintiff, an individual;

WELLS FARGO BANK, N.A., a National
Bank; UNITED STATES MARSHALS; a
US Agency; ASSET RELIANCE, INC; a
California Corporation; CRAIG HANSEN
an individual , and as an Agent for WELLS

TESTO, an individual , and as an Agent for

BARBOUR, an individual, AND DOES 1

Clerk, US District Court
COURT 4642

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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

ACV 17 04828-O00W-Gx

Case No.:
VERIFIED FIRST COMPLAINT FOR:

1.

VIOLATION OF 42 U.S.C § 1983

2. VIOLATION OF RIGHTS UNDER

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5™ AMENDMENT TO THE UNITED
STATES CONSTITUTION AND THE
CALIFORNIA CONSTIUTION
CONVERSION

INTENTIONAL INTERFERENCE
WITH PROSPECTIVE ECONOMIC
ADVANTAGE

NEGLIGENCE INTERFERENCE
WITH PROSPECTIVE ECONOMIC
ADVANTAGE

TRESPASS TO CHATTEL
REPLEVIN

VIOLATION OF BUSINESS AND
PROFESSIONS CODE § 17200 ET
SEQ

NEGLIGENCE

. FRAUD AND DECEIT
. VIOLATION OF US BANKING

STATUTES

. CONSTRUCTIVE TRUST
. ACCOUNTING
. PUNITIVE DAMAGE ALLEGATION

DEMAND FOR JURY TRIAL

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Plaintiff, IVAN RENE MOORE, (“Plaintiff”), alleges:
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JURISDICTION AND VENUE

1. This Court has jurisdiction pursuant to 28 U.S.C.§ 1331, which gives district court
Original jurisdiction over civil actions arising under the Constitution, and laws of the United
States, and for violation of Rights that are secured under 42 U.S.C. § 1983.

2. Furthermore, this court has supplemental jurisdiction over state claims pursuant to 28
U.S.C. § 1367.

3. Venue is proper in this judicial district under 28 U.S.C. § 1391, because the events
that gave rise to this Complaint occurred in this district.

II
PARTIES

4. Plaintiff, IVAN RENE MOORE, an individual, is now, and at all times, relevant to this
action, and is a resident of the County of Los Angeles, State of California. Plaintiff was in
lawful possession of certain properties, until February 12, 2012, when they were converted and
trespassed upon by Kimberly Martin-Bragg, aka Barbour, who refused to return them to Plaintiff,
despite a Judgment in his favor and a court order that she and her agents and attorneys return
them. She conspired with Defendants, allowing them to convert these properties while she and
Defendant, George Barbour, were in unlawful possession. These properties were converted by
Wells Fargo Bank, United States Marshals and others, on about April 20%, 2017. Plaintiff
alleges that many of said properties were personal and business properties belonging to
Ronald Hills, AC Cotton, West Viking Studio, Willie and Ima Moore, Rick Wilson, Mike Starr,

Mark Rezyka, Joe and Hellen Easton, James Butler, Loren Chaney, Solid State Logic, (“third

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parties”), and others. The properties were in unlawful possession of the Kimberly Martin-Bragg
Barbour and Defendant, George Barbour when they were unlawfully converted, and taken by
Defendants, Wells Fargo and others.

5. Defendant, WELLS FARGO BANK, N.A., (‘WELLS FARGO”), a national banking
association, 1s existing under the laws of the United States, and was at all times pertinent,
conducting business in the County of Los Angeles, State of California. Plaintiff alleges that,
Defendant, WELLS FARGO BANK, N.A., (“Wells Fargo”), intentionally and substantially
interfered with certain personal properties, by filing false and fraudulent court documents, and
by employing or engaging the service of the United States Marshals to impermissibly, and
unlawfully take dominion and control of the property of Plaintiff and other third parties.
Thereafter, Defendant, Wells Fargo, converted said property without any legal justification.
Wells Fargo knew that the properties they converted belonged to Plaintiff Moore and to the other
third parties. Kimberly Martin-Bragg, aka Barbour, and Defendant George Barbour also knew
the properties belonged not only to Mr. Moore, but to other third parties. Many of the third
parties had made claims for their property in the Chapter 11 Bankruptcy, and the Chapter 7
Bankruptcy of Martin-Bragg, aka Barbour. Her attorneys and the Wells Fargo attorneys also
knew this fact. As a result of the fraudulent statements of Wells Fargo and Kimberly Martin-
Bragg, aka Barbour, the United States Marshals failed to conduct a thorough investigation as
they are under duty to do so, in order to ascertain who owned the properties. Wells Fargo and
others, including the Defendant, US Marshals, converted these properties and took them

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impermissibly, in violation of the 5" Amendment to the United States Constitution. Even

though, Wells Fargo is not a state actor, private companies can violate civil rights. Defendants

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were acting in conspiracy with other defendant(s), and within the scope and course of its agency
and employment.

6. Defendant, UNITED STATES MARSHALS, (“US MARSHALS”), organized and
existing under the laws of the United States, was at all time pertinent, conducting business with
the County of Los Angeles, State of California. Plaintiff is informed, believes, and thereon
alleges that, Defendant, US MARSHALS, intentionally and substantially interfered with
Plaintiffs personal properties by conspiring with, WELLS FARGO BANK, N.A., to
impermissibly take certain personal property, without notice, in violation of the Due Process
Clause of the 5" and 14" Amendment to the United States Constitution. Defendants, UNITED
STATES MARSHALS and WELLS FARGO BANK, unlawfully levied on the properties of
third parties and on exempt property of Plaintiff. Said properties were not the subject of Wells
Fargo’s Replevin action.

7. Plaintiff further alleges that, all Defendants, including the United States Marshals and
Wells Fargo, failed to investigate, and conduct due diligence to ascertain who owned the
properties they converted and took impermissibly, in violation of the 5" Amendment to the
United States Constitution. Defendants were acting in conspiracy with other defendant(s), and
within the scope and course of its agency and employment.

8. Defendant, CRAIG HANSEN, is and at all times herein mentioned in this
Complaint, an individual residing, and/or conducting business in the county of Los Angeles,
State of California. CRAIG HANSEN is an employee and/or agent of Defendant, Wells Fargo,
and his acts are attributable to Wells Fargo.

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9. Plaintiff alleges that Defendant, CRAIG HANSEN, (“HANSEN”), intentionally and
substantially interfered with Plaintiff's personal properties by conspiring with other defendants
to take possession of the properties, and then, refused to return them. HANSEN knew that many
of the properties Wells Fargo converted belonged to Plaintiff and to other third parties.
Defendant, CRAIG HANSEN, was acting in conspiracy with other defendant(s), and within the
scope and course of its agency and employment.

10. Defendant, ASSET RELIANCE, INC., (“ASSET”) a corporation, organized and existing
under the laws of the State of California, was at all time pertinent, conducting business with the
County of Los Angeles, State of California. Plaintiff alleges that, Defendant, ASSET
RELIANCE, INC., intentionally and substantially interfered with Plaintiffs and others personal
properties by conspiring with other defendants to take possession of the properties, and then

refusing to return them. Defendant, ASSET RELIANCE, INC., knew that some of the properties

acting in conspiracy with other defendant(s), within the scope and course of its agency and
employment.

11. Defendant, EDWARD D. TESTO, is and at all times herein mentioned in this
Complaint, an individual residing in the county of Los Angeles, State of California. EDWARD
D. TESTO is an agent or an employee of Defendant, ASSET RELIANCE, INC., and his acts are
attributable to them. On information and belief, Plaintiff alleges that EDWARD D. TESTO is a
participant in the unlawful inference of Plaintiffs personal properties, inducing participation in
the interference with prospective economic advantage and interference with contractual relations

herein sued on, in this verified complaint. Defendant EDWARD D. TESTO, was acting in

belonged to other third parties, and to Mr. Moore, when they interfered with possession, and was

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conspiracy with other defendant(s), and within the scope and course of its agency and
employment.

12. Defendant, GEORGE BARBOUR, is and at all times herein mentioned in this complaint,
an individual residing in the County of Los Angeles, State of California. Plaintiff alleges that
GEORGE BARBOUR has knowledge that the property belonged to Plaintiff Moore and other
third parties, yet he participated in the wrongful retention of these properties, for some years.
Barbour has been to Court, and knows that Plaintiff Moore was awarded the return of these
properties in the action he won against Barbour’s claimed spouse, Kimberly Martin-Bragg, aka
Barbour. Defendant Barbour intentionally and substantially interfered with Plaintiffs personal
properties by conspiring with other defendants to take possession of the properties and refused to
return them. Defendant GEORGE BARBOUR, was acting in conspiracy with other
defendant(s), and within the scope and course of its agency and employment.

13. The true names and capacities, whether individual, corporate, associate, or otherwise of
Defendants named herein as Does 1 through 25, inclusive, are unknown to Plaintiff who
therefore sues these defendants by such fictitious names. Plaintiff will amend this Complaint to
show the true names and capacities of these defendants when the same have been ascertained.
Plaintiff is informed and believes that each fictitiously named defendant is responsible, in law
and in fact, for the obligations alleged herein. Plaintiff is informed and believes, and thereon
alleges that at all relevant times, each of the defendants was acting in conspiracy with other
defendant(s), and within the scope and course of its, his, or her agency and employment.

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GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

14. For over twenty years, Plaintiff, IVAN RENE MOORE and others, including Ronald
Hills, were and are colleagues and business associates in various businesses, opportunities and
ventures, including but not limited to music production, recording, managing, leasing, renting,
investing, and other business opportunities. Much of their business was operated from a multi-
million dollar music production studio located in Mr. Moore’s and Mr. Hills’ home and office of
over the past twenty plus years. Their home is located at 6150 Shenandoah Avenue, Los
Angeles, California 90056. The property in question is valued in excess of $20,000,000, and a
large part of the property is one of a kind and irreplaceable items, bought and collected over
twenty-years. It includes personal, business, corporate, legal, and professional properties. A
majority of these properties were not subject to any Replevin action filed by Wells Fargo Bank.

15. Plaintiff alleges that, Defendant, UNITED STATES MARSHALS, (“US
MARSHALS”), organized and existing under the laws of the United States, was at all time
pertinent, conducting business with the County of Los Angeles, State of California. Plaintiff is
informed and believes, and thereon alleges that Defendant, U.S MARSHALS, intentionally and
substantially interfered with Plaintiff's personal properties by conspiring with WELLS FARGO
BANK, N.A., to impermissibly take these properties, without notice, in violation of the Due
Process Clause of the 5" and 14" Amendment to the United States Constitution. Defendants,
UNITED STATES MARSHALS and WELLS FARGO BANK, unlawfully levied on the
properties of third parties that were in lawful possession of the Plaintiff. Said properties were

not the subject to the Replevin action.

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Wells Fargo knew this, yet they filed secret, false and fraudulent papers with the US District
Court, to gain access to the properties, and to lead the US Marshals into believing that Wells
Fargo had the right to gain possession of all of this property. Wells Fargo did this in conspiracy
with Kimberly Martin-Bragg, aka Barbour, her attorneys, and agents, and Defendant George
Barbour and possibly others. Kimberly Martin-Bragg, aka Barbour, (“Bragg”), has admitted she
conspired with Wells Fargo. Plaintiff is informed and believes, and upon such information and
beliefs, alleges that Bragg conspired to give Wells Fargo Plaintiffs and other third parties’
property, because Plaintiff Moore holds a Judgment against Bragg for the return of the property,
or the payment in Judgment of $3,150,000.00 plus costs and interests awarded to Mr. Moore on
July 31, 2013, from the Judgment entered in September of 2013. Bragg has since filed
bankruptcy twice to avoid returning the property or paying the Judgment. (See In Re: Kimberly
Martin-Bragg dismissed for cause, and In Re: Kimberly Barbour, aka Martin-Bragg, aka Bragg).
On information and belief, Bragg has a propensity for stealing the property of others, including
the elderly, by taking homes and personal property, and claiming them to be given to her or
purchased by her. Bragg is a disgraced LAPD Officer and a Real Estate Agent. Plaintiff further
alleges that United States Marshals and Wells Fargo Bank failed to conduct due diligence to
ascertain who owned the properties they converted and took impermissibly, in violation of the 5
Amendment to the United States Constitution. Defendants were acting in conspiracy with other
defendant(s), and within the scope and course of its agency and employment. Defendants were
acting in conspiracy with other defendant(s), and within the scope and course of its agency and

employment.

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16. On February 12, 2012, Mr. Moore was unlawfully evicted from his home, by
Kimberly Martin-Brags. That unlawful eviction was later reversed in full by the California
Court of Appeal Second District; see Bragg vs. Moore 219 Cal App 4", (2013). Despite
winning the appeal, Mr. Moore is still not in possession of his home. Bragg is still there.

Mr. Moore and Mr. Hills’ properties, as well as many other third parties properties, were
wrongfully kept by Kimberly Martin-Bragg since then. Kimberly Martin-Bragg, aka Barbour,
knew that she had wrongfully kept this property, which is the property of the Plaintiff and others.

17. Plaintiff alleges on information and belief, Kimberly Martin-Bragg, aka Barbour, at
some point, married Defendant Barbour, who has also claimed and bragged to have the property,
and swore to sell it or keep it. On information and belief, he, Barbour, resides at Mr. Moore’s
and Hills’ home located at 6150 Shenandoah, and has and had management and control of the
premises and the property contained therein. He also has access to storage facilities where the
property may be stored, and or was stored. Defendant George Barbour has continuously failed
to return Plaintiff's property, despite his knowledge that the property belongs to Plaintiff and
other third parties, and despite a Court Order that Bragg and all of her agents and attorneys do so.

18. Since the eviction in February, Mr. Hills has been seeking the return of his property.

In 2013, Mr. Moore won a conversion and trespass to chattel action for some of these
properties, and Bragg, aka Barbour, was under Court Order to return them, but she has not.
Defendant Barbour has been present in court, and is well aware of Plaintiffs, Mr. Moore’s,
Judgment and orders about the property, but he has failed to return them.

19. During this period, and continuing to the present day, Bragg, aka Barbour, and the
defendants began to conspire to keep these properties, or to transfer them between each other,

and to deprive more permanently, Plaintiff's property from him.

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She has admitted selling some of the property. Bragg, aka Barbour, has made statements under
oath admitting that she is an agent of another Defendant believed to be Defendants, Wells Fargo
and/or Asset. Asset has had access and control of the property for a period, and on information
and belief is acting as an agent of Wells Fargo.

20. Bragg, aka Barbour, is now in bankruptcy, but still unlawfully exercising control and
dominion over the property. Bragg, aka Barbour, is claiming she is broke, but has admitted in
the trial of Moore vs. Bragg BC 480013, under oath, to selling off the property. Her husband,
Defendant Barbour, is a participant in her wrongful conduct, and has knowledge of the Judgment
and of the two bankruptcies, his purported wife filed, which contain claims by Mr. Moore and
many other third parties for the return of their property.

21. Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG
HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, each of them, have taken or are in
wrongful possession of Plaintiffs personal properties. They have refused or are refusing to
return them when demand for the properties was made. Plaintiff alleges that they are or have
conspired to deprive him permanently of his property, despite the fact, that they know the
property is his. They have in essence re-converted these properties a second time, after Mr.
Moore won a unanimous nineteen day trial for conversion and trespass to chattel against Bragg.
Despite the Judgment and award, Bragg, and her agents and attorneys, failed to return the
property. These personal and professional properties were stored and kept at the residence of

the Plaintiffs, Ivan Rene Moore and Ronald Hills, located 6150 Shenandoah Avenue, Los

Now Bragg, aka Barbour, Defendant Barbour, their attorneys, Wells Fargo and their attorneys,

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Angeles, CA, where the Plaintiffs, Mr. Moore and Mr. Hills, conducted their business operations.

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have conspired, schemed, and concocted a plan to deprive Mr. Moore and the other third parties,
permanently of their rightful and lawful property.

22. Subsequently, KIMBERLY MARTIN-BRAGG, aka KIMBERLY BARBOUR,
commenced a fraudulent unlawful detainer action against Plaintiff, IVAN RENE MOORE,
thereby causing Plaintiff, Ivan Rene Moore, to be removed from his home of 20 plus years. Mr.
Moore has obtained a judgment against her for the conversion and trespass to chattel and loss of
earnings of his personal property. To date, she has wrongfully and intentionally failed to return
any of Mr. Moore’s property. And despite Plaintiffs requests, she has failed to return any of his
and others property based on an unlawful scheme with Wells Fargo and others.

23. Consequently, KIMBERLY MARTIN-BRAGG, aka KIMBERLY BARBOUR, and her
spouse, GEORGE BARBOUR, have and continue to intentionally and substantially interfere
with Plaintiff's personal and business properties by unlawfully taking possession and preventing
Plaintiff from having access to his personal properties and legal documents. Plaintiff and all the
third parties that had their property at 6150 Shenandoah, at the time of the eviction, have made
demand for the return of their properties; and each time, KIMBERLY MARTIN-BRAGG, aka
KIMBERLY BARBOUR, and GEORGE BARBOUR, have refused to return Plaintiff’ s
properties to Plaintiff. This is a continuous and ongoing wrongful course of conduct.

24. Subsequently, KIMBERLY MARTIN-BRAGG, aka KIMBERLY BARBOUR, and
GEORGE BARBOUR, conspired to give and gave possession of Plaintiffs personal properties
to WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG HANSEN, and
EDWARD D. TESTO. This is a continuous and ongoing wrongful course of conduct
committed by Defendants, and each of them. Plaintiff alleges that, WELLS FARGO BANK,

N.A., ASSET RELIANCE, INC., CRAIG HANSEN, and EDWARD D. TESTO, intentionally

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and substantially interfered with Plaintiffs personal properties by taking possession and control
over Plaintiffs personal properties without the consent of the Plaintiff. And all of the
Defendants knew that the property belonged to Plaintiff and others, at the time of the conspiracy
and the wrongful conversion and trespass.

25. In addition to the economic relationship plaintiff had with some of the owners of the
property, Plaintiff was in an economic relationship with various other third party artists which
required the use of his personal, business, and legal properties that are in the unlawful possession
of the Defendants. Much of this property is used in the method and manner of pursuing their
professions. The Defendants knew this and have known this since 2012.

26. Plaintiff further alleges that, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and each of them, was
aware of economic relationship between the Plaintiff, third parties, and Various Artists in the
Music Industry and other third parties, and well aware of the continuing probability of future
economic benefit to the plaintiff, IVAN RENE MOORE.

27. On information and belief, Plaintiff alleges that, KIMBERLY MARTIN-BRAGG, aka
KIMBERLY BARBOUR, and GEORGE BARBOUR, gave possession, either temporary or
permanently, of Plaintiffs and other third parties’ properties to WELLS FARGO BANK, N.A.,
ASSET RELIANCE, INC., CRAIG HANSEN, and EDWARD D. TESTO. KIMBERLY
MARTIN-BRAGG and DEFENDANT GEORGE BARBOUR may have sold some of Plaintiffs
and others’ property. Defendants named in this paragraph, conspired to deprive with each other,
and continue to deprive Plaintiff of all of his pecuniary interest, and enjoyment of his personal
properties without any privilege or legal authority to do so. They certainly do not and never have

had Plaintiffs consent. They do not have the consent of any of the owners of the property.

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28. Plaintiff contends that the major significance of the conspiracy rests in the fact that it
renders each participant, in the wrongful act, responsible as a joint tortfeasor for all damages
ensuing from the wrong, irrespective of whether or not he/she was a direct actor, and regardless
of the degree of his activity. (See, Applied Equipment Corp., 7 Cal.4th at p. 511, internal
citations omitted. ).

29. On information and belief, Plaintiff alleges that, on or about March of 2017, WELLS
FARGO BANK filed false, secret, and fraudulent court documents, as is their habit, in the US
District Court, and then conspired with the US MARSHALS, who then conspired with Wells
Fargo, to deprive Plaintiff of the use and enjoyment of his personal properties without just
compensation and without giving Plaintiff notice of their action.

30. Plaintiff seeks damages against Defendants, WELLS FARGO BANK, N.A., UNITED
STATES MARSHALS, ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO,
GEORGE BARBOUR, and DOES 1 through 25, for each and every theory in this complaint.

31. Plaintiff alleges that Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, and GEORGE BARBOUR, conspired to harm
Plaintiff. Plaintiff claims that he was harmed by these defendants, who impermissibly converted,
trespassed, interfered, breached duties, committed fraud, violated court orders and other
wrongful acts; and that these Defendants, are responsible for the harm because they were part of
a conspiracy to commit these wrongful torts and acts. Defendants, and each of them, named in
this paragraph, were and are well aware that they were planning to commit the wrongful acts;
and Defendants, named in this paragraph, agreed with each other and others, and intended that

the wrongful acts be committed.

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FIRST CAUSE OF ACTION
VIOLATION OF 42 U.S.C. § 1983
(Against Defendants, UNITED STATES MARSHALS and DOES 1 through 25)

Plaintiff re-alleges and incorporates by reference all preceding paragraphs, as though
fully set forth herein, on information and belief, Plaintiff alleges that on or about April of 2017,
the US MARSHALS recklessly and callously seized Plaintiffs personal, business, corporate and
legal property without notice and without cause. In doing so, they deprived Plaintiff of the use
and enjoyment of his property under 42 US 1983. Defendant, US MARSHALS, did so acting
under color of law, and violated Plaintiffs civil rights by depriving Plaintiff's interest in his
personal properties.

33. Plaintiff alleges that by seizing his property, Defendant, US Marshals deprived Plaintiff
of his fundamental rights to liberty and right to property, secured by the 5" and 14 Amendment
to the Constitution, and the protection secured under 42 U.S.C. § 1983.

34. Plaintiff alleges that as direct and proximate results of Defendants’ conduct, Plaintiff
has sustained substantial injuries in the amount to be determined by jury at trial.

35. Plaintiff alleges that a federal right was violated, and similar to tort law, that the alleged
violation was a proximate or legal cause of the damages that the plaintiff suffered. (Arno/d v.
IBM Corp., 637 F.2d 1350 [9th Cir. 1981]).

36. The Supreme Court has also held that Punitive Damages are available under section
1983 (Smith v. Wade, 461 U.S. 30, 103 S. Ct. 1625, 75 L. Ed. 2d 632 [1983]). Defendant’s, US
Marshals’, conduct was reckless or callously indifferent to the federally protected rights of
Plaintiff and others, or the defendant was motivated by an evil intent. Because the purpose of
punitive damages is to punish the wrongdoer; such damages may be awarded even if the

Plaintiff cannot show actual damages. (Basista v. Weir, 340 F.2d 74 [3d Cir. 1965]).

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SECOND CAUSE OF ACTION
VIOLATION OF FEDERAL CONSTITUTIONAL RIGHTS
(Against Defendants UNITED STATES MARSHALS and DOES 1 through 25)
37. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

38. On information and belief, Plaintiff alleges that, on or about April of 2017, the
US MARSHALS recklessly and callously seized Plaintiff's personal, business, corporate and
legal property without notice and without cause. In doing so, they deprived Plaintiff of the use
and enjoyment of his property under 42 US 1983. Defendant, US MARSHALS, did so, acting
under color of law, and violated Plaintiff's civil rights by depriving Plaintiffs interest in his
personal properties under the US and the State of California Constitution.

39. The California Constitution, ARTICLE 1 DECLARATION OF RIGHTS, provides:
“SECTION 1. All people are by nature, free and independent and have inalienable rights.
Among these are enjoying and defending life and liberty, acquiring, possessing, and protecting
property, and pursuing and obtaining safety, happiness, and privacy.”

40. It further provides, “SEC. 24. Rights guaranteed by this Constitution are not dependent
on those guaranteed by the United States Constitution.”

41. In seizing the Plaintiff's property, intentionally, callously and recklessly, and without
notice and cause, Defendant, US Marshals: deprived Plaintiff of his ownership and use of
enjoyment of his property; deprived Plaintiff of the right to practice his profession; deprived
Plaintiff of his privacy rights, in that Plaintiff had many private items from his family, and from

deceased and very famous artists and groups; and deprived Plaintiff of his right to happiness

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under both the US and the California Constitution. California 37. Defendants, US Marshals,
were acting or purporting to act in the performance of their official duties.

42. Defendant’s, US Marshals’, conduct violated Plaintiffs, Ivan Rene Moore’s, right to
own, possess, and enjoy his property; to practice his profession; to seek happiness; and to enjoy
his privacy.

43. Plaintiff was harmed by the actions of the Defendant, US Marshals, and this deprivation
by Defendant, US Marshals, was a substantial factor in causing Plaintiffs harm.

44, Plaintiff alleges that as direct and proximate results of Defendants’ conduct, Plaintiff has
sustained substantial injuries in the amount to be determined by jury at trial.

45. Plaintiff is entitled to seek punitive damages as a result of the intentional, callous,
reckless, and despicable conduct of Defendant, US Marshals.
THIRD CAUSE OF ACTION
CONVERSION
(Against Defendants, WELLS FARGO BANK, N.A., US MARSHALS,
ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO; GEORGE BARBOUR,

and DOES 1 through 25)

46. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.
47. At all times herein mentioned, Plaintiff, had lawful possession of all of his personal

properties, and the property of the other third parties.
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48. Plaintiff, alleges that on or about April of 2017, Defendants, WELLS FARGO BANK,
N.A., ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE
BARBOUR, and DOES 1 through 25, wrongfully took dominium and control over personal
properties that were in the lawful legal possession of the Plaintiff, but that were wrongfully in the
possession of Kimberly Martin-Bragg, aka Barbour, and Defendant George Barbour and possibly
others.

49. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 through 25
intentionally and substantially interfered with Plaintiffs personal properties, by taking
possession and control over Plaintiffs properties and by preventing Plaintiff, IVAN RENE
MOORE, from having access to his properties. Plaintiff made several demands for the return of
his personal properties and each time, Defendants, and each of them, refused to return Plaintiff's
personal properties.

50. Plaintiff, orally and in writing, demanded the immediate return of the above-
mentioned properties; but Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and each of them, has
failed and refused, and continues to fail and refuse, to return the properties to plaintiff.

51. Asa proximate result of Defendants’ conversion, and the wrongful acts herein alleged,
Plaintiff has been harmed and damaged in the sum of not less than $50,000,000.00, (Fifty
Million Dollars), and such other amounts to be proven at trial.

52. Plaintiff alleges that Defendants’ acts alleged above were willful, wanton, malicious,
and oppressive, and were undertaken with the intent to defraud, and justify the awarding of

exemplary and punitive damages.

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FOURTH CAUSE OF ACTION
INTENTIONAL INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
(AS TO DEFENDANTS WELLS FARGO BANK, N.A.,
ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR,
and DOES 1 through 25)

53. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though

fully set forth herein.

54. The elements of the tort of Intentional Interference Torts with Prospective Economic
Advantage are: (1) an economic relationship between the plaintiffs and some third person
containing the probability of future economic benefit to the plaintiffs, (2) knowledge by the
defendants of the existence of the relationship, (3) intentional acts on the part of the defendants
designed to disrupt the relationship, (4) actual disruption of the relationship, and (5) damages to
the plaintiff proximately caused by the acts of the defendants. Buckaloo v. Johnson, (1975) 14
Cal.3d 815, 827.

55. In seizing Plaintiff's property, in converting Plaintiff's property, Plaintiff, IVAN RENE
MOORE, alleges that, Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 through 25,
intentionally interfered with an economic relationship between Plaintiff, IVAN RENE MOORE,
and others, including but not limited to each other, and EN VOGUE, and SHEY, and several
other Artists in Los Angeles, that would have resulted in an economic benefit to Plaintiff, [VAN
RENE MOORE.

56. Defendants, and each of them, had knowledge of Plaintiffs profession and his Grammy
Award Nominations, and the fact that he was in a contractual relationship with third parties, from

which he would benefit, was public information.

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57. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,

CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25,
acted with the intent to disrupt the relationship between Plaintiff and EN VOGUE, and SHEY,
and other third parties, and several other Artists in Los Angeles.

58. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG
HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25, by
intentional acts, designed to disrupt Plaintiffs relationships as described above, by the execution
of fraudulent and illegal documents, and through intentional and malicious acts, and through the
promulgation of fraudulent documents, to deprive Plaintiff of economic relationship with EN
VOGUE, and SHEY (Artist), and several other Artists in Los Angeles, and other third parties.

59. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG
HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25, effectuated
and participated in interference, and disrupted Plaintiff's economic relationship with these third
parties, and were the proximate cause of Plaintiff's harm.

FIFTH CAUSE OF ACTION
NEGLIGENCE INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE
(AGAINST ALL DEFENDANTS)
Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.

60. Plaintiff, IVAN RENE MOORE, was in an economic relationship with, EN VOGUE,

SHEY, and several other recording Artists and other third parties in Los Angeles, California, that

probably would have resulted in a future economic benefit to Plaintiff.

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61. Plaintiff alleges that, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR and DOES 1 Through 25,
knew of Plaintiffs relationship with EN VOGUE, and SHEY (Artist), and several other Artists
in Los Angeles and other third parties, because it was public information.

62. Plaintiff alleges that, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25,
knew or should have known that this relationship would be disrupted if each of them failed to act
with reasonable care.

63. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, AKA SLEW FOOT, and
DOES 1 Through 25, failed to act with reasonable care when Defendants, and each of them,
interfered with the relationship with EN VOGUE, and SHEY (Artist), and several other Artists in
Los Angeles and other third parties and when they trespassed, converted, and committed theft of
Plaintiffs personal and professional properties that were essential to effectuate and perform the
agreements between Plaintiff and the above-mentioned third parties. Plaintiff is continuously
losing his ability to record and produce music, and has to turn down opportunities because of the
wrongful conduct of Defendants.

64. Plaintiff, alleges that, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25,
failed to act with reasonable care when Defendants, and each of them, interfered with Plaintiffs
prospective economic advantage, and interfered with contractual relations between Plaintiff, EN
VOGUE, and SHEY (Artist), and several other recording Artists in Los Angeles and other third

parties.

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65. Plaintiff alleges that as direct and proximate results of Defendants’ conduct, the
business relationship between Plaintiff and EN VOGUE, and SHEY (Artist), and several other
recording Artists in Los Angeles and other third parties was disrupted.

66. As direct and proximate results of Defendants’ conduct, Plaintiff has
been harmed in their business to an amount exceeding $ 80,000,000.00, (Eighty Million Dollars),
and accruing.

67. Plaintiff alleges that WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG
HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25’s wrongful
conduct was a substantial factor in causing Plaintiffs harm.

68. Plaintiff alleges that Defendants’ acts alleged above were willful, wanton, malicious,
and oppressive, and were undertaken with the intent to defraud; thereby, justifying the awarding

of exemplary and punitive damages under California Civil Code 3294.

SIXTH CAUSE OF ACTION
TRESPASS TO CHATTEL
(AGAINST DEFENDANTS, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC.,
CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR,
and DOES 1 Through 25)

70. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though
fully set forth herein.
71. At all times herein mentioned, Plaintiff, is the possessor and owner of some of the personal,

professional, corporate, legal and other properties, and had the right to use and possess these

and the properties of other third properties, properties referenced in Plaintiffs Exhibit “A.”

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72. Plaintiff alleges that Defendants, WELLS FARGO BANK, N.A., ASSET
RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and
DOES 1 through 25, by doing the acts aforementioned, intentionally interfered with Plaintiff’ s
use and possession of his personal and professional properties, without any privilege and without
the consent of the Plaintiff.

73. Plaintiff alleges that Plaintiff has been harmed because of WELLS FARGO BANK,
N.A., ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE
BARBOUR interference with Plaintiffs property.

74, Plaintiff, orally and in writing, has demanded the immediate return of the above
mentioned properties but Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR , and each of them has
failed and refused, and continues to fail and refuse, to return the properties to plaintiff.

75. Plaintiff alleges that, Defendants’ acts alleged above were willful, wanton, malicious,
and oppressive, and were undertaken with the intent to defraud, and justify the awarding of
exemplary and punitive damages under California Civil Code 3294.

76. Plaintiff alleges that, Defendant’s interference was a substantial factor in causing
Plaintiffs harm.

77. Asa proximate result of Defendants’ interference and the wrongful acts herein alleged,
Plaintiff has been harmed and damaged in the sum of not less than US $40,080,000.00. (Forty
Million Eighty Thousand dollars) and such other amounts to be proven at trial.

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SEVENTH CAUSE OF ACTION
REPLEVIN
(AGAINST ALL DEFENDANTS)

78. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as though fully
set forth herein.

79. Plaintiff alleges that, Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR unlawfully seized
goods and kept from Plaintiff his personal properties, including but not limited to (Exhibit “A”).

80. Plaintiff further alleges that the above named Defendants were the agents, employees,
servants, and/or the joint-ventures of the remaining Defendants, and each of them, and in doing
the things alleged herein below, were acting within the course and scope of such agency,
employment and/or joint venture and enterprise when they kept from and seized goods or
personal properties belonging to the Plaintiff.

81. Plaintiff has made demand for the return of these properties, however, Defendants, and
each of them, has refused to return Plaintiffs properties.

82. Through this action, Plaintiff seeks to replevin his property, including the property
entrusted to him by other third parties. Plaintiff seeks immediate return and recovery of the
property.

83. Plaintiff alleges that, Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through
25, were the agents, employees, servants and/or the joint-ventures of KIMBERLY BARBOUR,

aka KIMBERLY MARTIN- BRAGG, aka, KIMBERLY MARTIN, aka KIMBERLY BRAGG,

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when they conspired to wrongfully take dominium and control over Plaintiffs and others
personal properties, including but not limited to the items in, (Exhibit “A”).

84. Plaintiff alleges that Defendants act of wrongful dominion, control, and willful
interference with Plaintiff’s properties have substantially interfered with Plaintiff's right of
possession and enjoyment of his, his family and others personal and business properties.

85. Plaintiff, orally and in writing, has demanded the immediate return of the above-
mentioned properties, but Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through
25, failed and refused, and continues to fail and refuse, to return Plaintiffs personal properties to
Plaintiff.

86. Asa proximate result of Defendants’ conversion and the wrongful acts herein alleged,
Plaintiff has been harmed and damaged in the sum of not less than $ 70,000,000.00, (Seventy
Million Dollars), and such other amounts to be proven at trial, and Plaintiff seeks replevin of his
and others property.

87. The Defendants’ acts alleged above were willful, wanton, malicious, and oppressive,
and were undertaken with the intent to defraud, and justify the awarding of exemplary and
punitive damages.

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EIGHTH CAUSE OF ACTION
VIOLATION OF CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200 et seq.
(AGAINST ALL DEFENDANTS)
88. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

89. Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE, INC., CRAIG
HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through 25, have
engaged in unfair, unlawful, and fraudulent business practices in the State of California, as set
forth above.

90. Plaintiff is informed and believes, and thereon alleges that by engaging in the
above-described acts and practices, Defendants have committed one or more acts of unfair
competition within the meaning of Business & Professions Code section 17200, et seq.

91. Business & Professions Code section 17200, et seq., prohibits acts of unfair

competition, which means and includes any unlawful, unfair or fraudulent business act and
conduct that is likely to deceive and is fraudulent in nature. Defendants have filed false and
fraudulent court documents, and have published false statements about Plaintiff and Plaintiffs
ownership and possession of his and others personal properties.

92. Defendants have exercised dominion and control over Plaintiff's property without
consent, unfairly, and using fraudulent business practices by Defendants, Wells Fargo.
Defendants are in violation of court orders, which are known to them and published. Defendants
know that Plaintiff has not given anyone permission to inspect, control, keep, or exercise any
control or dominion over his property or over the property of the others. Defendants knew when

they interfered with, damaged, seized and took wrongful possession of the property, that the

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property they seized included property they had no right to seize, property that was owned by
other innocent third parties, and property not subject to any rights or interest of Defendant.

93. Plaintiff is informed and believes, and thereon alleges that Defendants, WELLS FARGO
BANK, N.A., ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE
BARBOUR, and DOES 1 Through 25’s conduct, for the reasons stated herein, is in direct
violation of California Law.

94. Plaintiff alleges that Defendants, WELLS FARGO BANK, N.A., ASSET RELIANCE,
INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE BARBOUR, and DOES 1 Through
25, facilitated, aided and abetted the illegal, deceptive, and unlawful practices as alleged.
Plaintiff is informed and believes that Defendant BARBOUR acts as himself, and a sole
proprietor of at least two businesses.

95. Plaintiff alleges that on information and belief that, Defendants, WELLS FARGO
BANK, N.A., ASSET RELIANCE, INC., CRAIG HANSEN, EDWARD D. TESTO, GEORGE
BARBOUR, and DOES 1 Through 25, conspired to interfere with Plaintiffs personal properties,
conspired to interfere with Plaintiffs prospective economic advantage, disparaged the name of
Plaintiff, and unlawfully exercised dominium and control over Plaintiff's personal properties.

96. As more fully described above, Defendants! acts and practices are likely to
deceive members of the public, as to the property of Plaintiff. This conduct is ongoing and
continues to this date.

97. As more fully described above, Defendants' acts and practices are unfair and deceitful,
the harm caused by their conduct outweighs any benefit that their conduct may have. This

conduct is ongoing and continues to this date.

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98. Plaintiff allege that by engaging in the above described acts and/or practices
as alleged herein, Defendants violated several laws including California Business & Professions
Code section 17200, et seq. and must be required to disgorge all profits related to their unfair,
unlawful, and deceptive business practices.

99. Plaintiff alleges that Defendants' misconduct, as alleged herein, gave Defendants
an unfair competitive advantage over their competitors, by the conversion, and trespass of the
Plaintiff's valuable properties. The scheme implemented by Defendants is designed to defraud
Plaintiff and enrich the Defendants.

100. The foregoing acts and practices have caused substantial harm to Plaintiff. By reason
of the foregoing, Defendants have been unjustly enriched, by collecting payments that they are
not entitled to, and should be required to make restitution to Plaintiff, IVAN RENE MOORE,
and others who have been harmed, and to be immediately enjoined from continuing in such
practices pursuant to California Business & Professions Code sections 17203 and 17204.

101. As a direct and proximate result of the violations of California Business &
Professions Code Section 17200 by Defendants conduct as alleged, Plaintiff, IVAN RENE
MOORE, has been and is being damaged.

102. Plaintiff alleges that Section 17204 provides that "any person" may sue on behalf of
"itself, its members, or on behalf of the general public." As such, Plaintiff brings this action
under 17204, and any other applicable section.

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NINTH CAUSE OF ACTION
NEGLIGENCE
(AGAINST ALL DEFENDANTS)

103. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

104. “The elements of a cause of action for negligence are well established. They are “(a) a
legal duty to use due care; (b) a breach of such legal duty; (c) the breach as the proximate or
legal cause of the resulting injury.” Ladd v. County of San Mateo (1996) 12 Cal.4th 913, 917 [S50
Cal.Rptr.2d 309, 911 P.2d 496.

105. Each Defendant by statute or by contract, has a legal duty and moral duty not to harm
the Plaintiff or convert personal properties that were in lawful possession of the Plaintiff, and to
use due care.

106. Plaintiff alleges that Defendants breached their duty of care owed to Plaintiff when
Defendants, UNITED STATES MARSHALS, (“US MARSHALS”), WELLS FARGO BANK,
N.A., and others, impermissibly took certain personal property that was in the lawful possession
of Plaintiff, without notice, without due process, callously, recklessly, deceitfully as described
about, in violation of the Due Process Clause of the 5" and 14'" Amendment to the United States
Constitution.

107. Defendants breach of their duty of care to Plaintiff was the proximate and legal cause
of Plaintiffs harm.

108. Plaintiff alleges that Defendants’ breach is the actual and proximate cause of Plaintiff's
injury which is in excess of $80,598,000.00 and accruing.

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TENTH CAUSE OF ACTION
FRAUD DECEIT BY CONCEALMENT

(AGAINST ALL DEFENDANTS)

109. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

110. The elements of an action for fraud and deceit based on concealment are: “(1) the
defendant must have concealed or suppressed a material fact, (2) the defendant must have been
under a duty to disclose the fact to the plaintiff, (3) the defendant must have intentionally
concealed or suppressed the fact with the intent to defraud the plaintiff, (4) the plaintiff must
have been unaware of the fact and would not have acted as he did, if he had known of the
concealed or suppressed fact, and (5) as a result of the concealment or suppression of the fact,
the plaintiff must have sustained damage.” (Boschma v. Home Loan Center, Inc. (2011) 198
Cal. App.4th 230, 29 Cal. Rptr.3d 874].)

111. Defendants, and each of them, concealed to PLAINTIFF, the US District Court, and to
the Los Angeles Superior Court, that they were aware that the property they were about to seize
and did seize, was exempt from the Wells Fargo Judgement, and that some of it belonged to
other third parties. They concealed to these entities that Plaintiff, Mr. Moore, did since 2012,
peaceably and lawfully try to regain ownership and possession of the property, in the final
judgment in BC 480013, Moore vs. Martin-Bragg. They failed to disclose and concealed that
Martin-Bragg has been under at least two Court Orders to return the property. They failed to
disclose that they knew the property belonged to Mr. Moore and to other third parties. This fact

was public; and Mr. Moore and other third parties had filed claims in Bragg’s, aka Barbour’s,

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two bankruptcies, one in 2014 and one in 2017. They failed to disclose that some of the property
was the subject of a Judgment in Moore vs. Martin-Bragg, LASC Case. No. BC 480013. They
failed to disclose that they knew the property they seized contained legal documents which
evidenced the fraud on the part of Wells Fargo. They failed to disclose that Mr. Moore has
always maintained throughout LASC BC 480013, that some of the property, Bragg, aka Martin-
Bragg, aka Barbour, belonged to other third parties. She was aware of this from the time she
converted the properties, in 2011.

112. Plaintiff alleges that the Defendants, and each of them, concealed these facts
intentionally.

113. Had Plaintiff known of the ex-parte motions of Wells Fargo, and the secret and
clandestine acts of all the other Defendants, and each of them, he would have appeared in the US
District Court, and challenged the ex-parte with the truth.

114. Plaintiff has been tremendously damaged by this fraud, deceit, and concealment.

ELEVENTH CAUSE OF ACTION
VIOLATION OF US BANKING LAWS
UNDER THE FEDERAL RESERVE ACT
(AS TO DEFENDANT WELLS FARGO)

115. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

116. Plaintiff alleges that Defendant, Wells Fargo, violated US banking laws that they were
required to uphold, by the filing of false statements to the Federal Reserve and the SEC, by filing
false and forged documents in both the US Bankruptcy Court and the US District Court, and by

the conversion and theft of Plaintiff's properties, by fraud, and by unsound business practices.

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117. Plaintiff alleges that Defendant, Wells Fargo, has been under many “Cease and Desist”
orders of the Federal Reserve, and that they are in violation of such.

118. Plaintiff has been harmed by these violations, and the harm is still occurring.

TWELFTH CAUSE OF ACTION
FOR CONSTRUCTIVE TRUST
(AGAINST ALL DEFENDANTS)

119. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

120. Asa proximate result of the Defendants fraudulent misrepresentations, and otherwise
wrongful conduct, as alleged herein, Plaintiff has been damaged in a sum exceeding over
$80,000,000.00.

121. By reason of the fraudulent, and otherwise wrongful manner, in which the Defendants,
or any of them, obtained their alleged right, claim or interest in and to the property, Defendants,
and each of them, have no legal or equitable right, claim or interest therein, but instead,
Defendant, Wells Fargo, their agents and others, and/or each of the Defendants and their agents,
are involuntary trustees holding said property and profits therefrom in constructive trust for
Plaintiff with the duty to convey the same to Plaintiff forthwith.

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THIRTEENTH CAUSE OF ACTION
FOR ACCOUNTING

(AGAINST ALL DEFENDANTS)

122. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

123. Plaintiff alleges an accounting is necessary because of the type of nature and niqueness
of his property does not lend itself to a recovery of it, and if it is lost, stolen, or damaged
or further illegally hypothecated, the defendant has to account for each and every item of
Plaintiffs property. Its value is not what Defendant and third parties have listed, if they
are the parties in possession of the property.

124. Plaintiff alleges that if some of his property is lost, stolen or damaged, and accounting
is needed on the balance due from the Defendant to the Plaintiff, because Plaintiff alleges his
right to recover a sum certain or a sum that can be made certain by calculation.

125. Plaintiff alleges the accounts are so complicated that an ordinary legal action
demanding a fixed sum is impracticable, and an accounting is the only method by which Plaintiff
can ascertain the value of the properties taken.

126. Because of the uniqueness of many of the items taken by Defendants, and by the
valuations listed by some Defendants, Plaintiff disputes any and all of these lists, and demands
that the Defendants be compelled to make a proper accounting. Plaintiff, Ivan Rene Moore, and
others have accumulated this property over twenty years, and are the only rightful and

knowledgeable sources for the value of this property.

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127. For these reasons, this Court must enjoin any sales of this property, and must
compel an accounting which Plaintiff conducts. Plaintiff and others are the only source of

information about this property.

PUNITIVE DAMAGE ALLEGATION

AGAINST ALL DEFENDANTS

128. Plaintiff re-alleges and incorporates by reference all preceding paragraphs as
though fully set forth herein.

129. The conduct of the Defendants, and each of them, is despicable, malicious, intentional,
and is ongoing.

130. Plaintiff seeks damages pursuant to Civil Code 3294. "Malice" means that a Defendant
acted with intent to cause injury or that a Defendant's conduct was despicable and was done with
a willful and knowing disregard of the rights or safety of another. A Defendant acts with
knowing disregard when the Defendant is aware of the probable dangerous consequences of his,
her, or its conduct, and deliberately fails to avoid those consequences. Defendants, and each of
them, know that they are conspiring to and concealing or exercising wrongful dominion and
control over Mr. Hills’ and other third party property. They know that they have no rights or
interest to the property of third parties who have made claims in the US Bankruptcy Court.
Plaintiff alleges that Defendants’ conduct was oppressive and despicable, and subjected Plaintiff,
IVAN RENE MOORE, to cruel and unjust hardship, and violated his constitutional protected
liberty interest.

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131. Plaintiff alleges that punitive damages are warranted because Defendants’ conduct
was despicable, vile, base, or contemptible, and that it would be looked down on and despised by
reasonable people. Furthermore, Defendants, and each of them, intentionally and willfully

misrepresented or concealed material facts and did so intending to harm Plaintiff.

DEMAND FOR JURY TRIAL

Plaintiff hereby request a jury trial on all causes of action.

WHEREFORE, Plaintiff prays judgment against all Defendants, and each of them, as follows:

1. For compensatory damages in the sum of $90,750,000.00 for Conversion;
2. For compensatory damages in the sum of $60,649,000.00 for Intentional

Interference with Prospective Economic Advantage;

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For compensatory damages in the sum of $80,598,000.00 of Negligence
Interference with Prospective Economic Advantage;

4. For compensatory damages in the sum of $80,546,000.00 for Trespass To Chattel
5. For compensatory damages in the sum of $90,750,000.00 for Replevin

6. For the sum of $86,248,000.00 for Violation of California B&P Code § 17200

et seq.

7. CONSTRUCTIVE TRUST
For a declaration that Defendants and each of them hold the Plaintiffs property
as constructive trustees for the benefit of the Plaintiff and others;

8. For an accounting and inventory, immediately, of what property Defendants, and
each of them, have taken wrongfully;

9. For costs of suit herein incurred;

10. For interest allowed by law;

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11. For such other and further relief as the court may deem lawful and proper.

Dated: June 29", 2017

IVADARENE MOORE
Plaintiff, In Propria Persona

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VERIFICATION OF IVAN RENE MOORE

I, IVAN RENE MOORE declare as follows:

1. I am the Plaintiff in the above action.

2. I have personal knowledge of all the matters stated in this Complaint, and they are
true as pleaded. I have read the above Complaint and the factual statements contained therein,
and they are made of my own personal knowledge, except those matters stated to be on
information and belief, which I believe to be true.

I declare under penalty of perjury, under the laws of the State of California, that the

foregoing is true and correct.

Dated: June 29" , 2017

La
BAN RENE MOORE

Plaintiff in Propria Persona

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CIVIL COVER SHEET
I. (a) PLAINTIFFS ( Check box if you are representing yourself ) DEFENDANTS ( Check box if you are representing yourself [] )
welrs FARGO GAN

IVAN RENE MOORE

N.A.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

(b) County of Residence of First Listed Plaintiff LOS ANGELES
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

IVAN RENE MOORE
1236 Redondo Boulevard
Los Angeles, California 90019

TELEPHONE: 323 932-9439

il. BASIS OF JURISDICTION (Place an X in one box only.) It. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

1, U.S. Government 3. Federal Question (U.S. Citizen of This State oy 1 Ba Incorporated or Principal Place a 4 cr 4
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [7] 2 [] 2_ Incorporated and Principal Place [15 {)5

(ind of Business in Another State
2. U.S. Government 4, Diversity (Indicate Citizenship |Citizen or Subject of a : ;
F Nat! 6 6

Defendant of Parties in Item III) Foreign Country Ele EE) 3 saeignsshen O O

IV. ORIGIN (Place an X in one box only.)

1. Original O 2. Removed from CO 3. Remanded from
Proceeding State Court Appellate Court

8. Multidistrict
Litigation -
Direct File

6. Multidistrict
Litigation -

O 4. Reinstated or
Transfer

O 5. Transferred from Another
Reopened

District (Specify)

L L

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [_] No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: [ ]Yes No [_] MONEY DEMANDED IN COMPLAINT: $ $375, 000,000.00
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
VIOLATION OF 42 USC §1982; CONVERSION; FRAUD AND OTHERS

VII. NATURE OF SUIT (Place an X in one box only).

| _ OTHER STATUTES CONTRACT —_| REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
[[] 375 False Claims Act [-] 110 Insurance [_] 240 Torts to Land Oo 182 Naturalization Habeas Corpus: [_] 820 Copyrights
pplication . .

376 Qui Tam (-] 120 Marine [] 245 Tort Product [] 463 Alien Detainee [_] 830 Patent

LI (31 usc 3729(a)) Liability 465 Other [7] 310 Motions to Vacate
a [] 130 Miller Act [] 290 All Other Real O Immigration Actions Sentence Ol 835 Patent - Abbreviated

[py 400 State 140 Negotiable Property TORTS [] 530 General New Drug Application

Reapportionment Instrument TORTS : PERSONAL PROPERTY |[_] 535 Death Penalty [_] 840 Trademark
C] 410 Antitrust 150 Recovery of |__ PERSONAL INJURY 370 Other Fraud otiier: SOCIAL SECURITY

: Overpayment & 310 Airplane
[7] 480 Backs set Banking (UI Enforcement of (I . 371 Truth in Lending |[_] 540 Mandamus/Other Lf Sot Bile (Isa)
[1] 450 Commerce/icc Judgment 7 [1] 550 Civil Right [1] 862 Black Lung (923)
Product Liability 380 Other P: | ivil Rights
Rates/Etc. oO er Persona
‘ 151 Medicare Act 320 Assault, Libel & Property Damage 555 Prison Condition 863 DIWC/DIWW (405 (g))
L] 460 Deportation J 152 R f U1 Ssiander 385 mroperty arnage U 560 Civil Detainee 5 864 SSID Title XVI
e ‘

Oo 470 Racketeer Influ vere Oo 330 Fed. Employers C Product Liability [] Conditions of

enced & Corrupt Org. |{[_] Defaulted Student 4
o peg Loan (Excl. Vet.) Liability BANKRUPTCY Confinement [_] 865 RSI (405 (g))

480 Consumer Credit o— [] 340 Marine

FORFEITURE/PENALTY L TAX SUITS

490 Cable/Sat TV 153 Recovery of : 422 Appeal 28 FEDERA
0 _ [1] Overpayment of | |[] Liability ine Product |] ysc 158 625 Drug Related 870 Taxes (U.S. Plaintiff or
Oo 850 Securities/Com- Vet. Benefits 423 Withdrawal2g |L1 Seizure of Property21 |C] Defendant)

modities/Exchange ; 350 Motor Vehicle |L] USC 881

[7] 180 Stockholders USC 157 7 [7 821 |RS-Third Party 26 USC

890 Other Statutory Suits oO 355 Motor Vehicle CIVIL RIGHTS [_] 690 Other 7609
O Actions Product Liability -
[2] 891 Agricultural Acts |[_] 190 Other [360 Other Personal Ll] fAMoMinerceat Fight EenGR
Cr Be Enonmental | soscoreaee fry Sefenoa uy [O MAVone CD Ae borane

Matters LC] prsduet Liability CI] Med Malpratice L] 442 Employment fy 720 Labor/Mgmt.
oO 895 Freedom of Info. 196 Franchise 365 Personal Injury- 443 Housing/ Relations

Act LI] Product Liability eR aR [_] 740 Railway Labor Act
[_] 896 Arbitration REAL PROPERTY 367 Health Care/ 445 American with . .

5 : isabilities- 751 Family and Medical
. 210 Land [[] Pharmaceutical [] Disabilities Li
899 Admin. Procedures : : Employment Leave Act
: Condemnation Personal Injury

[_] Act/Review of Appeal of [J 220 Foreclosure Product Liability 446 American with oO 790 Other Labor

Agency Decision O Disabilities-Other Litigation

ea, R 368 Asbestos Isa e
Oo eee L Siistrinensallty of Oo 2% ent Lease& {[] personal injury [1] 448 Education 791 Emplayes Ret. Inc.
Jjectment Product Liabil a rs s 7 Ppurity ct
f u ge UC) WU ~
\ A C i BK ee ( 5. (

FOR OFFICE USE ONLY: Case Number: Y | Q QOA/- ¢

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Case 2:17-cV-O4 @RRTED SIA TES Dis FRICHCOORT, CENTRAL BISPRIGVOFRADFORNIAA 39 ~Page ID #:38

CIVIL COVER SHEET

VIII. WENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

from state court?

[1 Yes No

QUESTION A: Was this case removed |’

AS PENDING IN THE (

“INITIAL DIVISION.IN CACD IS;

[-] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo

IF"no,"skip to-Question B. If “yes;"check the
box to the right that applies, enter the
corresponding division in response to

Question E, below, and continue from there.

=

Western
[] Orange Southern
1 Riverside or San Bernardino Eastern

QUESTION B: Is the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

the district reside in Orange Co.?

—>

check one of the boxes to the right

B.1. Do 50% or more of the defendants who reside in

YES. Your case will initially be assigned to the Southern Division.
[-] Enter "Southern" in response to Question E, below, and continue
from there.

[] NO. Continue to Question B.2.

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

—

YES. Your case will initially be assigned to the Eastern Division.
[_] Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.
(1 Enter "Western" in response to Question E, below, and continue
from there.

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LN RE ee

7

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

CI Yes No

If “no, " skip to Question D. If "yes," answer
Question C.1, at right.

district reside in Orange Co.?

—

check one of the boxes to the right

C.1. Do 50% or more of the plaintiffs who reside inthe

YES. Your case will initially be assigned to the Southern Division.
[] Enter "Southern" in response to Question E, below, and continue
from there.

[] NO. Continue to Question C.2.

district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

C.2. Do 50% or more of the plaintiffs who reside in the

YES. Your case will initially be assigned to the Eastern Division.
{_] Enter “Eastern” in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.
[_] Enter "Western" in response to Question E, below, and continue
from there.

RS

tk

OG

+| Los:Angeles, Ventura,
|; Santa Barbara, or San
| Luis Obispo County

Indicate the location(s) in which 50% or

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

more of plaintiffs who reside in this district

Indicate the location(s) in which 50% or

district reside. (Check up to two boxes, or leave blank if none of these choices

more of defendants who reside in this

apply.)

BES

D.1. Is there at least one

[_] Yes

If "no," go to questio

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.

Enter "Southern" in response to Question E, below, and continue from there.

answer in Column A?

PX] No

—

n D2 to the right.

D.2. Is there at least one answer in Column B?
[| Yes No
If "yes," your case will initially be assigned to the
EASTERN DIVISION.
Enter “Eastern” in response to Question £, below.
If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

QUESTIONE intalb

TIAL DIISION IN CACD:

Enter the initial d

WESTERN

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CIVIL COVER SHEET

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Case 2:17-cv-O4 @RPrED STATES Dis FRICLCOBRT cent XL BS FRGTOFCAOROKNA 39 Page ID #:39
CIVIL COVER SHEET

IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [| YES

If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

[] No YES

If yes, list case number(s): HILLS vs WELLS FARGO, et al. 2:17-cv-03373-SVW(FFM)

Civil cases are related when they (check all that apply):
A. Arise from the same or a closely related transaction, happening, or event;
| B. Call for determination of the same or substantially related or similar questions of law and fact; or

[| C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
[] A. Arise from the same or a closely related transaction, happening, or event;

[| 8. Call for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): DATE: JUNE 28, 2017

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,

861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b)) oe /

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended. ,

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 U.S.C. 405 (g))

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